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                Exhibit F
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        STATE OF SOUTH DAKOTA )                                                      IN CIRCUIT COURT
                              :SS
        COUNTY OF McCOOK      )                                               FIRST JUDICIAL CIRCUIT

        KEITH ANTHONY SCHALLENKAMP,                       *
                                                          *
                     Plaintiff,                           •                    CIV. 18-
                                                          *
                                                          ,.
        vs.
                                                          •           VERIFIED COMPLAINT
        STEVEN SORENSON, TINA SORENSON,                   *
        AND SHIRLEY SCHALLENKAMP,
                                                          •
                                                          *

                     Defendants.                          *
                                                          *
                                                          *


                Comes now the Plaintiff, Keith Allen Schallenkamp, by and through his attorney, Robin
        M. Eich, of Eich Law Office, Prof. LLC., and for his cause of action against the Defendants,
        Steven Sorenson, Tina Sorenson, and Shirley Schallenkamp, states and alleges the following:
                l.      Keith Allen Schallenkamp, ("Plaintiff'), is an individual residing in Mankato,
        Sibley County, Minnesota.
                2.      Defendants Steven Sorenson and Tina Sorenson's last known address was
        Frankfort, Illinois.
                3.      Defendant Shirley Schallenkamp's last known address was Salem, South Dakota.
                4.      From July, 2009 to January, 2012, Plaintiff made advancements of loans to
        Defendants totaling seventy-five thousand one hundred four dollars and no cents ($75,104.00).
                5.      Defendants promised to repay Plaintiff the amount of seventy-five thousand one
        hundred four dollars and no cents ($75,104.00), with interest.
                6.      To date, Defendants have only repaid Plaintiff three thousand eight hundred
        dollars and no cents ($3,800.00) of the seventy-five thousand one hundred four dollars and no
        cents ($75,104.00), plus interest, owed.
                7.      Defendants owe Plaintiff seventy-five thousand one hundred four dollars and no
        cents ($75 , 104.00) minus three thousand eight hundred dollars and no cents ($3,800.00), for a
        total of seventy-one thousand three hundred four dollars and no cents ($7 1 ,304.00) plus interest
        for the loan made.




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            8.        All of the Defendants acknowledged that the money loaned to Defendants was a
    personal loan to be repaid with interest. Plaintiff trusted that Defendants would repay the money
    to Plaintiff.
            9.        Prior to Plaintiff loaning Defendants Steven Sorenson and Tina Sorenson the
    money, all of the Defendants failed to disclose information to Plaintiff that would have caused
    him not to make the loan. Said information included debt belonging to Defendant Steven
    Sorenson totaling over one million dollars and no cents ($ l,000,000.00) and the risky financial
    situation that Defendants were in.
            l 0.      Defendant Shirley Schallenkamp, upon info1mation and belief, knew or should
    have known of Defendants Steven Sorenson and Tina Sorenson's precarious financial situation
    and failed to disclose the same.
            1 1.      Defendants have acknow !edged via various communications that Defendants owe
    the money to Plaintiff. Plaintiff has given them ample opportunity to pay the debt owed but
    Defendants Steven Sorenson and Tina Sorenson have not continued to pay on the loan.
            1 2.      Subsequently, Defendants Steven Sorenson and Tina Sorenson filed a petition for
    bankruptcy in the Northern District of Illinois. On said petition, Defendants Steven Sorenson
    and Tina Sorenson swore under penalty of perjury that their schedules were true and accurate.
            1 3.      Plaintiff did not receive proper notice of the bankruptcy from Defendants Steven
    Sorenson and Tina Sorenson, as the petition included an incorrect address for him. During the
    pendency of the bankruptcy, and without Plaintiff's knowledge of said petition being filed,
    Defendants Steven Sorenson and Tina Sorenson continued to contact Plaintiff at his correct
    address, which was not listed on the bankruptcy schedules. Plaintiff feels that Defendants
    intentionally sent the documents to an incorrect address.
            14.       The petition for banlauptcy filed by Defendants Steven Sorenson and Tina
    Sorenson also listed the debt owed to Plaintiff in the amount of six thousand dollars and no cents
    ($6,000.00). During the pendency of the bankruptcy, and without Plaintiffs knowledge of said
    petition being filed, Defendants Steven Sorenson and Tina Sorenson continued to receive money
    from Plaintiff.
            15.       Upon information and belief, Plaintiff alleges that by intentionally listing an
    incorrect address for him in their bankrnptcy petition, Defendants Steven Sorenson and Tina
    Sorenson knew that he would not receive proper notice of the pending bankruptcy filing. The

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     actions of Defendants Steven Sorenson and Tina Sorenson caused significant harm to Plaintiffs
     because he was thereby unable to pa1ticipate as a creditor in the bankruptcy case.


                                  COUNT l · BREACH OF CONTRACT
              16.    The above allegations are incorporated as if fully set forth herein.
              17,    Plaintiff loaned Defendants a total of seventy-five thousand one hundred four
     dollars and no cents ($75,104.00), which they agreed to repay, with interest.
              1 8.   Defendants failed to pay on the loans as agreed upon.
              19,    To date, Defendants have only repaid Plaintiff three thousand eight hundred
     dollars and no cents ($3,800.00) of the seventy-five thousand one hundred four dollars and no
     cents ($75,104.00), plus interest, owed.
             20.     Plaintiff has been damaged in an amount to be determined by the jury at trial.


                                   COUNT II · FRAUD AND DECEIT
             21.     The above allegations are incorporated as if fully set f01th herein.
             22.     Defendants indicated to Plaintiff that Defendants would repay Plaintiff the money
     they were loaned, with interest.
             23.     Defendants committed fraud and deceived the Plaintiff in regards to the tme and
     accurate financial situation of Defendants and also their ability to repay the money plus interest
     to Plaintiff.
             24.     Defendant Shirley Schllenkamp made statements to Plaintiff inducing him to loan
     the money to Defendants.
             25.     Defendants were not honest with Plaintiff.
             26,     Defendants Steven Sorenson and Tina Sorenson made false statements on their
     bankruptcy petition in regards to the amount owed to Plaintiff and Plaintiff's correct address.
             27.     Plaintiff has been damaged in an amount to be determined by the jury at hial.


                             COUNT III · BREACH OF FIDUCIARY DUTY
             28.     The above allegations are incorporated as if fully set forth herein.
             29.     Defendant, Shirley Schallenkamp, as the bona fide broker of the financial
     transaction, owed a fiduciary duty to Plaintiff.

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                                                                                               Verified Complaint

             30.     Defendant Shirley Schallenkamp was responsible for maintaining the broker
     arrangement with the Plaintiff.
             31 .    Defendant Shirley Schallenkamp represented to Plaintiff that Defendants Steven
     Sorenson and Tina Sorenson were good credit risks and could repay the loan.
             32.    Plaintiff reasonably relied on Defendant Shirley Schallenkamp's warranties and
     representations to his detriment.
             33.     By and through Defendant Shirley Schallenkamp' s fraud during the broker-client
     relationship. she breached her fiduciary duty by misrepresenting the loan, the abilities of
     Defendants Steven Sorenson and Tina Sorenson to repay the loan, and her lack of disclosure of
     the bankruptcy filing of Defendants Steven Sorenson and Tina Sorenson.
             34.     Plaintiff has been damaged in an amow1t to be detennined at trial.


            WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
             1.     A judgment be rendered against Defendants Steven Sorenson and Tina Sorenson,
     in the amount of seventy-one thousand three hundred four dollars and no cents ($71,304.00),
     plus prejudgment interest;
            2.      A judgment be rendered against Defendant Shirley Schallenkamp for breach of
     fiduciary duty in an amount to be determined at trial;
            3.      A judgment be rendered against all Defendants for fraud in an amount to be
     determined at trial;
            4.      In an amount of damages to be dete1mined by the jury at trial;
            5.      For Plaintiffs costs and disbursements herein, including, without limitation,
     attorney fees and expenses; and
             6.     For such other and further relief as the Court deems appropriate.


                                           JURY TRIAL DEMAND
            Plaintiff requests a jlll'y trial on all issues so triable.


            Dated this �ay of June, 2018.




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                                                                            RICH LAW OFFICE, PROF. LLC

                                                                      By:
                                                                            Ro in  'J.E�--------- - -----
                                                                            700 N . Vandemark Ave., Ste. l 08
                                                                            Hartford, SD 57033
                                                                            Telephone: (605) 528-3000
                                                                            Facsimile: ( 605) 528-3001
                                                                            Robin@eichlawoffice.com
                                                                            Artomevfor the Plaint/ff

                                                             VERIFICATION
      STATE OF H.1~.c,e:;,__--:,rfJ               )
      COUNTY OF       �,..o-(r                   :SS
                                                  )
             Keith Anthony Schallcnkamp, being first duly sworn, upon his oath deposes and states
      that he is the Plaintiff in the above and foregoing Verified Complaint, that he has read the same
      and knows the contents thereof, and !bat the statements therein are true and c01Tect to his own
      knowledge and belief.

             Dated this Z<.o
                               y-(__,
                                        day of   :s·   0   :r--1-2:          , 20 l8.




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             Subscribed to and swam before me on this 2-�                          day of_::f
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                                                                                               "-_       _      _, 2018.

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